                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 1 of 12 Page ID #:5494




                                                                   1 Christopher P. Wesierski [Bar No. 086736]
                                                                      cwesierski@wzllp.com
                                                                   2 Michelle R. Prescott [Bar No. 262638]
                                                                      mprescott@wzllp.com
                                                                   3 Eileen Spadoni [Bar No. 133259]
                                                                      espadoni@wzllp.com
                                                                   4 Brett A. Smith [Bar No. 322707]
                                                                      bsmith@wzllp.com
                                                                   5 WESIERSKI & ZUREK LLP
                                                                     29 Orchard Road
                                                                   6 Lake Forest, California 92630
                                                                     Telephone: (949) 975-1000
                                                                   7 Facsimile: (949) 756-0517
                                                                   8 Bryan J. Freedman, Esq. (SBN: 151990)
                                                                       bfreedman@ftllp.com
                                                                   9 Jesse A. Kaplan, Esq. (SBN: 255059)
                                                                       jkaplan@ftllp.com
                                                                  10 FREEDMAN + TAITELMAN, LLP
                                                                     1801 Century Park West, 5th Floor
                                                                  11 Los Angeles, California 90067
                                                                     Telephone: (310) 201-0005
WESIERSKI & ZUREK LLP




                                                                  12 Facsimile: (310) 201-0045
                                  LAKE FOREST, CALIFORNIA 92630




                                                                  13 Attorneys for Defendant and
                                        29 ORCHARD ROAD

                                          (949) 975-1000




                                                                     Counterclaimant, Lindsey C. Hill
                        LAWYERS




                                                                  14
                                                                  15                                      UNITED STATES DISTRICT COURT
                                                                  16               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                  17 TREVOR BAUER,                                           Case No. 8:22-cv-00868 JVS (ADSx)
                                                                  18                         Plaintiff,                      Assigned for all purposes to the Hon.
                                                                                                                             James V. Selna
                                                                  19             vs.
                                                                                                                             DEFENDANT AND
                                                                  20 LINDSEY C HILL AND NIRANJAN                             COUNTERCLAIMANT LINDSEY
                                                                     FRED THIAGARAJAH,                                       C. HILL'S AMENDED EX PARTE
                                                                  21                                                         APPLICATION FOR AN ORDER
                                                                              Defendants,                                    ALLOWING HILL TO FILE AN
                                                                  22                                                         UNREDACTED MOTION FOR
                                                                     LINDSEY C. HILL,                                        CONTEMPT IN THE SOUTHERN
                                                                  23                                                         DISTRICT OF OHIO TO COMPEL
                                                                              Counterclaimant,                               COMPLIANCE WITH SUBPOENA
                                                                  24                                                         AND AN ORDER EXTENDING
                                                                         vs.                                                 THE DISCOVERY CUTOFF TO
                                                                  25                                                         ALLOW FOR THE TAKING OF
                                                                     TREVOR BAUER,                                           THE DEPOSITION OF JANE DOE.
                                                                  26
                                                                              Counter-Defendant,                             [Filed concurrently with (Proposed)
                                                                  27                                                         Order, Declaration of Michelle
                                                                                                                             Prescott, Declaration of Joe Gerling]
                                                                  28
                                                                                                                         1
                                                                       I1938189-2 MER-5137                      AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                       HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 2 of 12 Page ID #:5495




                                                                   1                                                 Action Filed:        April 25, 2022
                                                                                                                     Discovery Deadline: September 1, 2023
                                                                   2                                                 Pretrial Conference: January 22, 2024
                                                                                                                     Trial Date:          February 13, 2024
                                                                   3
                                                                   4                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   5 I.          INTRODUCTION
                                                                   6             Defendant and counterclaimant Lindsey Hill (“Hill”) submits this Amended Ex
                                                                   7 Parte Application seeking an order allowing her to file an unredacted Motion for
                                                                   8 Contempt for Failure to Comply with a Deposition Subpoena in the United States
                                                                   9 District Court for the Southern District of Ohio (the "Motion for Contempt") and for
                                                                  10 an order extending the discovery cutoff to take the deposition of Jane Doe.
                                                                  11 Preliminarily, Hill does not seek to continue the January 22, 2024 Pretrial Conference
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12 or the February 13, 2024 trial date. Hill merely seeks an order allowing her to file the
                                        29 ORCHARD ROAD




                                                                  13 Motion for Contempt in an unredacted form (i.e. including the personal identifying
                                          (949) 975-1000
                        LAWYERS




                                                                  14 information of a non-party currently identified as Jane Doe) out of an abundance of
                                                                  15 caution in light of the protective order in this action and for a brief extension of the
                                                                  16 discovery cutoff to allow for the deposition of Doe to move forward once the Motion
                                                                  17 for Contempt is granted.
                                                                  18             Hill has made several attempts to secure the attendance of Jane Doe ("Doe") an
                                                                  19 accuser with similar claims as Hills' against Plaintiff and Cross-Defendant Trevor
                                                                  20 Bauer ("Bauer"). In an effort to comply with this Court's Amended Stipulated
                                                                  21 Protective Order (Dkt. No. 78), Hill retained local counsel in the Southern District of
                                                                  22 Ohio where Doe resides, and filed a Motion to File Under Seal in order to (1) protect
                                                                  23 Doe's identity which has not been publicly disclosed, and (2) be able to file the Motion
                                                                  24 for Contempt to compel the deposition of Doe to obtain critical and highly relevant
                                                                  25 testimony and documents concerning Doe's relationship with Bauer without being
                                                                  26 forced to disclose her identity publicly which may violate the Amended Stipulated
                                                                  27 Protective Order. In an abundance of caution, Hill is seeking relief to be permitted to
                                                                  28 file the Motion for Contempt in Ohio in unredacted form, which will disclose the
                                                                                                            2
                                                                       I1938189-2 MER-5137               AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 3 of 12 Page ID #:5496




                                                                   1 personal identifying information of Ms. Doe. (Declaration of Michelle R. Prescott
                                                                   2 "Prescott Decl." ¶ 12.)(Declaration of Joseph Gerling "Gerling Decl." ¶ 6) The Court
                                                                   3 in the Southern District for Ohio denied Hill's Motion to File Under Seal, and Hill is
                                                                   4 left with no alternative means of compelling Doe's attendance at her deposition unless
                                                                   5 the relief requested is granted and Hill is allowed to file an unredacted Motion for
                                                                   6 Contempt that will identify Doe by name and include Doe's address.
                                                                   7             On September 6, 2023, at approximately 9:30a.m., Plaintiff's counsel was
                                                                   8 provided notice of the ex parte application. (Prescott Decl. ¶ 17, Exh. F). Plaintiff's
                                                                   9 counsel indicated they would oppose the ex parte application on the grounds that (1)
                                                                  10 the Motion to Seal filed by local counsel was improper; (2) defense counsel waited too
                                                                  11 long to seek to compel the deposition of Doe; and (3) this ex parte application is the
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12 improper method for seeking the relief requested by the application.
                                        29 ORCHARD ROAD




                                                                  13             A.          Hill Has Made Best Efforts to Take the Deposition of Doe While
                                          (949) 975-1000
                        LAWYERS




                                                                  14                         Preserving Doe's Privacy and Complying with This Court's
                                                                  15                         Amended Stipulated Protective Order
                                                                  16             Hill has made multiple attempts to depose Doe and all of Hill's prior attempts
                                                                  17 have been unsuccessful. On May 12, 2023, counsel for Hill drafted a Subpoena to
                                                                  18 Testify at a Deposition in a Civil Action ("Original Subpoena") to Doe seeking critical
                                                                  19 documents and deposition testimony directly related to this Action. (Prescott Decl. ¶
                                                                  20 3, Exh. A.) The deposition was noticed for June 1, 2023 via Zoom. (Id.) The Original
                                                                  21 Subpoena sought documents and deposition testimony concerning Doe's prior sexual
                                                                  22 relationship with Bauer as well as her allegations of sexual assault against Bauer. (Id.)
                                                                  23 Doe participated in the prior MLB arbitration concerning alleged sexual assaults by
                                                                  24 Bauer, and she alone is positioned to testify regarding her claims against Bauer. (Id.)
                                                                  25 It is critical to Defendant that Doe sit for her deposition and produce the documents
                                                                  26 requested by Defendant. (Id.)
                                                                  27             In response to the Original Subpoena, Bauer filed a Motion for Protective Order
                                                                  28 and to Quash Third Party Subpoenas ("Motion to Quash") on June 7, 2023. (Dkt. No.
                                                                                                           3
                                                                       I1938189-2 MER-5137                   AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                    HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 4 of 12 Page ID #:5497




                                                                   1 110). (Prescott Decl. ¶ 4). Bauer also filed an Application to file the Motion to Quash
                                                                   2 under seal on the same date. (Dkt. Nos. 111-114). (Id.) Pursuant to the Local Rules,
                                                                   3 Plaintiff and Defendant filed a Joint Stipulation Regarding the Motion to Quash on
                                                                   4 June 8, 2023 (Dkt. No. 115). (Id.) On June 28, 2023 the Court, after considering the
                                                                   5 Motion to Quash and related documents filed by the Parties, ruled that Defendant was
                                                                   6 entitled to notice the deposition of Doe. (Dkt. No. 135). (Prescott Decl. ¶ 5).
                                                                   7             In light of the Court's ruling, counsel for Hill drafted an Amended Subpoena to
                                                                   8 Testify at a Deposition in a Civil Action ("Amended Subpoena") to Doe. The Amended
                                                                   9 Subpoena sought the same documents requested by the Original Subpoena. The
                                                                  10 deposition was noticed for August 17, 2023 via Zoom. (Prescott Decl. ¶ 6.) Doe was
                                                                  11 lawfully served with the Amended Subpoena by personal service on July 15, 2023.
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12 (Prescott Decl. ¶ 7.)
                                        29 ORCHARD ROAD




                                                                  13             Shortly thereafter, counsel for Hill attempted to contact Doe via text message to
                                          (949) 975-1000
                        LAWYERS




                                                                  14 inform her of the subpoena and to request that Doe or her counsel contact counsel for
                                                                  15 Hill and confirm her availability for the August 17, 2023 date noticed for Doe's
                                                                  16 deposition. (Prescott Decl. ¶ 8). Shortly thereafter on or about August 2, 2023, Doe
                                                                  17 called counsel for Hill and left a voicemail indicating that she would not be complying
                                                                  18 with the Amended Subpoena and that she did not wish to be involved in this Action.
                                                                  19 (Prescott Decl. ¶ 9.)
                                                                  20             Doe indicated that she was represented by Joe Tacopina, Esq. of Tacopina,
                                                                  21 Seigel, and Deoreo as her counsel of record. On July 26, 2023 counsel for Hill sent a
                                                                  22 letter to Mr. Tacopina regarding service of the Amended Subpoena and requesting that
                                                                  23 he confirm by close of business on July 28, 2023 whether he still represents Doe and
                                                                  24 whether Doe is available for her deposition noticed for August 17, 2023. (Prescott
                                                                  25 Decl. ¶ 10.) Having heard no response, counsel for Hill appeared on August 17, 2023
                                                                  26 and waited approximately 30 minutes for Doe to arrive at the deposition. When Doe
                                                                  27 did not arrive, counsel for Hill took a Notice of Non-Appearance on behalf of Doe.
                                                                  28 (Prescott Decl. ¶ 11).
                                                                                                                     4
                                                                       I1938189-2 MER-5137                AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                 HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 5 of 12 Page ID #:5498




                                                                   1             In an effort to compel Doe's attendance at her deposition, counsel for Hill
                                                                   2 retained Joe Gerling, local counsel admitted to practice before the United States
                                                                   3 District Court for the Southern District of Ohio to file a Motion to File Under Seal and
                                                                   4 a Motion for Contempt to Compel Compliance with Deposition Subpoena ("Motion
                                                                   5 for Contempt") to compel Doe to sit for her deposition. (Prescott Decl. ¶ 12, Gerling
                                                                   6 Decl. ¶ 3). Doe lives in the Southern District of Ohio and accordingly this was the
                                                                   7 proper venue to file the Motion to File Under Seal and the Motion for Contempt.
                                                                   8 (Prescott Decl. ¶ 12, Gerling Decl. ¶ 5). Counsel for Hill retained Mr. Gerling and
                                                                   9 specifically instructed him to file a Motion to File Under Seal prior to filing the Motion
                                                                  10 for Contempt in order to: (1) protect Doe's identity which has not been publicly
                                                                  11 disclosed and (2) be able to file the Motion for Contempt to compel the deposition of
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12 Doe to obtain critical and highly relevant testimony and documents concerning Doe's
                                        29 ORCHARD ROAD




                                                                  13 relationship with Bauer without being forced to disclose her identity publicly which
                                          (949) 975-1000
                        LAWYERS




                                                                  14 may violate the Amended Stipulated Protective Order. (Prescott Decl. ¶ 12).
                                                                  15             Prior to retaining Mr. Gerling, he was provided and executed a copy of the
                                                                  16 Amended Stipulated Protective Order currently in force in this Action. (Gerling Decl.
                                                                  17 3, Exh. A). On August 25, 2023, Mr. Gerling filed the Motion to File Document under
                                                                  18 Seal in the District Court for the Southern District of Ohio. (Gerling Decl. ¶ 6). The
                                                                  19 Motion to File Under Seal intentionally did not include the name, address, or any other
                                                                  20 identifying information about Doe in order to protect Doe's privacy. (Id.)
                                                                  21             Unfortunately, Hill's Motion to File Under Seal was denied by United States
                                                                  22 Magistrate Judge Chelsey M. Vascura on August 28, 2023. Judge Vascura issued an
                                                                  23 Order denying the Motion to File Under Seal. In the order, Judge Vascura explained
                                                                  24 that due to the standard regarding motions to seal set forth by the Sixth Circuit, the
                                                                  25 Motion to File Under seal failed to meet the standard. (Gerling Decl. ¶ 8.) Accordingly,
                                                                  26 the Motion for Contempt would need to be filed in an unredacted form with the full
                                                                  27 name of Jane Doe. (Gerling Decl. ¶ 9.) As of the filing of this ex parte application, Mr.
                                                                  28 Gerling has not filed the Motion for Contempt out of a desire to protect the privacy of
                                                                                                              5
                                                                       I1938189-2 MER-5137              AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                               HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 6 of 12 Page ID #:5499




                                                                   1 Doe. (Gerling Decl. ¶ 10).
                                                                   2             Mr. Gerling was also informed and believed that by filing the Motion to File
                                                                   3 Under Seal in the Southern District of Ohio that the Motion would be transferred to the
                                                                   4 Central District of California and the parties in the California Action would thereafter
                                                                   5 receive notice and service copies of the Motion to File Under Seal through the CM/ECF
                                                                   6 system. (Gerling Decl. ¶ 7). Because the Motion to File Under Seal was denied rather
                                                                   7 than transferred, no automatic service through the Central District of California
                                                                   8 CM/ECF system occurred. (Prescott Decl. ¶ 16).
                                                                   9             Counsel for Hill has repeatedly attempted to set the deposition of Doe and Doe
                                                                  10 has repeatedly failed to comply with the subpoenas issued by counsel for Hill. Absent
                                                                  11 an order allowing (1) the Motion for Contempt to be filed in unredacted form in the
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12 Southern District of Ohio and (2) allowing for a brief extension of the discovery cutoff,
                                        29 ORCHARD ROAD




                                                                  13 and no other dates including the trial date, for the sole purpose of taking the deposition
                                          (949) 975-1000
                        LAWYERS




                                                                  14 of Doe, Hill will be denied her sole avenue to obtain critical information regarding the
                                                                  15 sexual battery suffered at the hands of Bauer by Doe. Hill therefore respectfully
                                                                  16 requests that this Ex Parte Application be granted.
                                                                  17 II.         LEGAL ARGUMENT
                                                                  18             A.          There Is A Good Cause For Granting This Ex Parte Application
                                                                  19             The Court is permitted to grant ex parte relief upon a showing of “good
                                                                  20 cause.” “Such application shall state the reasons therefore, and may be granted upon
                                                                  21 a showing of good cause.” Semiserve Inc. v. Semicon Servs., LLC, 2014 U.S. Dist.
                                                                  22 LEXIS 198013 (C.D. Cal. 2014.) Federal Rule of Civil Procedure 16(b)(4) states
                                                                  23 that a Scheduling Order “may be modified only for good cause and with the judge's
                                                                  24 consent.” Fed. R. Civ. P. 16 (b)(4). The “good cause” standard primarily considers
                                                                  25 the diligence of the party seeking the amendment of the Scheduling Order. Johnson
                                                                  26 v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). The district court
                                                                  27 may modify the Scheduling Order if the moving party shows that, even with the
                                                                  28
                                                                                                                      6
                                                                       I1938189-2 MER-5137                   AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                    HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 7 of 12 Page ID #:5500




                                                                   1 exercise of due diligence, he or she was unable to meet the timetable set forth in the
                                                                   2 order. Id.
                                                                   3             The focus of the inquiry is on the moving party, and if the moving party has
                                                                   4 not been diligent, the motion to modify a Scheduling Order may be denied. Zivkovic
                                                                   5 v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002) (good cause exists “if [the
                                                                   6 schedule] cannot reasonably be met despite the diligence of the party seeking the
                                                                   7 extension”); Johnson, supra, 975 F.2d at 609. Here, good cause exists for the Court
                                                                   8 to continue dates in the Amended Scheduling Order with respect to the discovery
                                                                   9 deadlines for nonexpert and expert discovery.
                                                                  10             In determining whether good cause exists, courts look to see: “(1) that [the
                                                                  11 party] was diligent in assisting the Court in creating a workable Rule 16 order ...; (2)
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12 that [its] noncompliance with a Rule 16 deadline occurred or will occur,
                                        29 ORCHARD ROAD




                                                                  13 notwithstanding [its] diligent efforts to comply, because of the development of
                                          (949) 975-1000
                        LAWYERS




                                                                  14 matters which could not have been reasonably foreseen or anticipated at the time of
                                                                  15 the Rule 16 scheduling conference ...; and (3) that [it] was diligent in seeking
                                                                  16 amendment of the Rule 16 order, once it became apparent that [it] could not comply
                                                                  17 with the order.” Jackson v. Laureate, Inc., 186 F.R.D. 605, 608 (E.D. Cal. 1999)
                                                                  18 (citing Eckert Cold Storage, Inc. v. Behl, 943 F. Supp. 1230, 1233 (E.D. Cal. 1996)).
                                                                  19             In this case, Hill acted diligently in attempting to depose Doe. Hill served the
                                                                  20 first subpoena to Doe in May 2023. (Prescott Decl. ¶ 3.) After motion practice
                                                                  21 between Hill and Bauer, the Court ruled that Hill was entitled to take the deposition
                                                                  22 of Doe on June 28, 2023. (Prescott Decl. ¶ 5.) Hill then re-noticed the deposition of
                                                                  23 Doe, made multiple attempts to contact Doe regarding the deposition, and was forced
                                                                  24 to take a Notice of Non-Appearance when Doe still failed to appear. (Prescott Decl.
                                                                  25 ¶¶ 6-11). Once Doe failed to appear, Hill acted diligently in retaining local counsel
                                                                  26 to file the Motion to File Under Seal to attempt to compel Doe's compliance with the
                                                                  27 subpoenas while also protecting her privacy. Out of an abundance of caution, Hill is
                                                                  28
                                                                                                                     7
                                                                       I1938189-2 MER-5137                AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                 HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 8 of 12 Page ID #:5501




                                                                   1 seeking this relief to ensure compliance with the Amended Stipulated Protective
                                                                   2 Order. (Prescott Decl. ¶ 12.)
                                                                   3             Hill has brought this Ex Parte Application with all due diligence, just four
                                                                   4 business days after the Motion to File Under Seal was rejected by the District Court
                                                                   5 for the Southern District of Ohio, in order to obtain an order (1) allowing Hill to file
                                                                   6 the Motion for Contempt and (2) providing a brief extension to the discovery cutoff,
                                                                   7 without changing the trial date or any related dates, to allow for the deposition of
                                                                   8 Doe to move forward.
                                                                   9             B.          Absent an Order Allowing Defendant to File the Motion for
                                                                  10                         Contempt in Unredacted Form and Allowing Defendant Additional
                                                                  11                         Time to Take the Deposition of Doe, Hill Will Be Severely
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12                         Prejudiced and Irreparably Harmed.
                                        29 ORCHARD ROAD




                                                                  13             Because the sole avenue for the critical testimony and documents sought by
                                          (949) 975-1000
                        LAWYERS




                                                                  14 the deposition subpoenas issued to Doe is Doe herself, if the relief requested by Hill
                                                                  15 is not granted Hill will be unable to obtain the information. The information at issue
                                                                  16 concerns the prior interactions between Doe and Bauer that are very similar to the
                                                                  17 interactions between Hill and Bauer, i.e. non-consensual sexual acts performed by
                                                                  18 Bauer on Doe.
                                                                  19             Evidence that Bauer has “sexually assaulted” other victims by engaging in
                                                                  20 non-consensual sexual acts with those victims is directly relevant under Rule 415 to
                                                                  21 prove that Bauer has a propensity to engage in such conduct, and in turn, that he
                                                                  22 sexually assaulted Hill in a similar manner while Hill was unconscious or partially
                                                                  23 conscious.
                                                                  24             Rule 415 permits Hill to present evidence of Bauer’s other sexual assaults to
                                                                  25 prove Bauer’s “propensity” to sexually assault Hill. United States v. Redlightning,
                                                                  26 624 F.3d 1090, 1119 (9th Cir. 2010); United States v. Door, 663 F. App'x 570, 572
                                                                  27 (9th Cir. 2016); Blind-Doan v. Sanders, 291 F.3d 1079, 1082 (9th Cir. 2002). Fed.
                                                                  28 R. Evid. 413 (“Rule 413”) (criminal) and Rule 415 (civil) were passed to supersede
                                                                                                              8
                                                                       I1938189-2 MER-5137                    AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                     HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                              Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 9 of 12 Page ID #:5502




                                                                   1 and make an exception to Fed. R. Evid. 404(b), which imposed a blanket prohibition
                                                                   2 on propensity evidence. Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1267-
                                                                   3 68 (9th Cir. 2000); United States v. Guardia, 135 F.3d 1326, 1329 (10th Cir.1998).
                                                                   4             Rule 415 provides that in “a civil case involving a claim for relief based on a
                                                                   5 party’s alleged sexual assault or child molestation, the court may admit evidence
                                                                   6 that the party committed any other sexual assault or child molestation.” Fed. R.
                                                                   7 Evid. 415(a). Rule 415 additionally provides that such “evidence may be considered
                                                                   8 as provided in” Rule 413, which is the criminal counterpart, and “does not limit the
                                                                   9 admission or consideration of evidence under any other rule.” Id. Rule 413 instructs
                                                                  10 that evidence introduced under Rule 415 “may be considered on any matter to which
                                                                  11 it is relevant.” Fed. Rule of Evid. 413(a). That includes defendant’s propensity to
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                  12 commit the sexual assault complained of in the underlying civil action. See United
                                                                  13 States v. LeMay, 260 F.3d 1018, 1024 (9th Cir. 2001) (noting that “Rules 413
                                        29 ORCHARD ROAD

                                          (949) 975-1000
                        LAWYERS




                                                                  14 through 415 ... remov[e] the longstanding ban on propensity evidence in criminal”
                                                                  15 and civil trials). Rule 415 allows a litigant to present evidence of both charged and
                                                                  16 uncharged conduct. See McMahon v. Valenzuela, No. 214CV02085CASAGRX,
                                                                  17 2015 WL 7573620, at *3 (C.D. Cal. Nov. 25, 2015)(“Accordingly, the fact that
                                                                  18 plaintiff seeks to admit evidence of allegations (uncharged offenses) does not
                                                                  19 preclude the admission of such evidence under Rule 415.”).
                                                                  20                         1.   The Subpoenas Issued to Doe Seek Admissible Evidence
                                                                  21                              Regarding the Sexual Assault Suffered by Doe
                                                                  22             The deposition subpoenas issued to Doe specifically seek testimony and
                                                                  23 documents concerning her prior sexual assault suffered at the hands of Bauer.
                                                                  24 “Sexual assault,” as defined by Rule 413(d), includes Bauer’s sexual acts while Doe
                                                                  25 was unconscious, even if those Doe initially provided consent. Accordingly, not
                                                                  26 only is Hill entitled to discover facts that Bauer engaged in certain non-consensual
                                                                  27 sexual acts with Doe, she is also entitled to discover the circumstances that would
                                                                  28 render those acts non-consensual, including the fact that Bauer would frequently
                                                                                                               9
                                                                       I1938189-2 MER-5137                  AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                   HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                                                  Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 10 of 12 Page ID
                                                                                                   #:5503



                                                                    1 choke Doe during sex until they were unconscious and they could no longer consent.
                                                                    2 Hill is also entitled to discover additional evidence of Bauer’s plan, intent and desire
                                                                    3 to commit those crimes, including his messages to Doe telling Doe he wants to
                                                                    4 engage in sexual conduct with them while they are unconscious.
                                                                    5             Rule 413(d)’s definition of “sexual assault” includes a number of sex crimes
                                                                    6 under both state or federal law. Fed. R. Evid. 413(d). In particular, under Rule
                                                                    7 413(d)(1), “sexual assault” is defined as “a crime under federal law … involving: (1)
                                                                    8 any conduct prohibited by 18 U.S.C. chapter 109A.” Fed. R. Evid. 413(d)(1). Under
                                                                    9 Section 413(d)(1), a defendant’s conduct need not satisfy the jurisdictional
                                                                   10 requirements of chapter 109A to qualify as a sexual assault for purposes of Rule
                                                                   11 413. See United States v. Shaw, No. 22-CR-00105-BLF-1, 2023 WL 2815360, at
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                   12 *6-8 (N.D. Cal. Apr. 5, 2023). Rather, Rule 413 only requires that the conduct he
                                                                   13 prohibited by Chapter 109A. See id. (“The words ‘conduct prohibited by’ indicate
                                        29 ORCHARD ROAD

                                          (949) 975-1000
                        LAWYERS




                                                                   14 that the Court must look at the conduct of the Defendant, regardless of the location
                                                                   15 of that conduct.”).
                                                                   16             Additionally, Rule 413’s definition of “sexual assault” also includes any state
                                                                   17 law crime “… involving: (2) contact, without consent, between any part of the
                                                                   18 defendant’s body--or an object--and another person’s genitals or anus; (3) contact,
                                                                   19 without consent, between the defendant's genitals or anus and any part of another
                                                                   20 person's body; [or] (4) deriving sexual pleasure or gratification from inflicting death,
                                                                   21 bodily injury, or physical pain on another person[.]” Fed. R. Evid. 413(d)(2)-(4).
                                                                   22             Here, Doe has accused Bauer of engaging in the exact non-consensual
                                                                   23 criminal sex acts that are considered by Rules 413 and 415. If true, the alleged acts
                                                                   24 performed by Bauer constitute serious criminal conduct that is prohibited by both
                                                                   25 chapter 109A and California law. In particular, Bauer’s non-consensual sex acts
                                                                   26 with Doe while she was unconscious qualifies as criminal conduct under both
                                                                   27 chapter 109A and California law. For example, 18 U.S.C.A. § 2241(b)(1), entitled
                                                                   28 “Aggravated Sexual Abuse,” makes it a crime to knowingly render another person
                                                                                                             10
                                                                        I1938189-2 MER-5137                AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                  HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                                                  Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 11 of 12 Page ID
                                                                                                   #:5504



                                                                    1 unconscious and thereby engage in a “sexual act” with that other person. 18
                                                                    2 U.S.C.A. § 2242(2)(B), entitled “Sexual Abuse,” makes it a crime to knowingly
                                                                    3 engage in a “sexual act” with a person if that other person is “physically incapable
                                                                    4 of declining participation in, or communicating unwillingness to engage in, that
                                                                    5 sexual act.” 18 U.S.C.A. § 2242(3) also makes it a crime to knowingly engage in a
                                                                    6 “sexual act” with a person without that other person’s consent. 18 U.S.C.A. § 2244,
                                                                    7 entitled “Abusive Sexual Contact” makes it a crime to knowingly engage in “sexual
                                                                    8 contact” with another person without that other person’s permission. See 18
                                                                    9 U.S.C.A. § 2244.
                                                                   10             Under California law, even if a victim provides advance consent,
                                                                   11 unconsciousness negates consent because it prevents the victim from withdrawing
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                   12 from the activity. See People v. Miranda, 62 Cal. App. 5th 162, 175 (2021)
                                                                   13 (“Because the law does not recognize an unconscious person’s advance consent to a
                                        29 ORCHARD ROAD

                                          (949) 975-1000
                        LAWYERS




                                                                   14 rape, making the sexual act a crime, it is a battery to intentionally commit that act
                                                                   15 even if there was advance consent. … Where sex with an unconscious person is a
                                                                   16 rape and thus unlawful regardless of consent, it is not reasonable to believe that it is
                                                                   17 lawful, so the touching is a battery, just as it is a rape.”). Moreover, a victim need
                                                                   18 not be “totally and physically unconscious” to negate consent. See People v.
                                                                   19 Ogunmola, 193 Cal. App. 3d 274, 279 (1987); Boro v. Superior Ct., 163 Cal. App.
                                                                   20 3d 1224, 1228 (1985). California Penal Code § 261(a)(4), defines rape to mean
                                                                   21 sexual intercourse when the victim is “unconscious.” California Penal Code §
                                                                   22 289(d), entitled “Forcible acts of sexual penetration; punishment,” criminalizes
                                                                   23 sexual penetration if the victim is “unconscious.”
                                                                   24             Here, Hill has no avenue to obtain the information regarding Bauer's assault
                                                                   25 of Doe besides Doe herself. As discussed above, the information sought is directly
                                                                   26 relevant and admissible evidence of prior sexual assaults by Bauer against Doe. This
                                                                   27 information is critical to Hill's claims and defenses and ability to prepare for trial,
                                                                   28 and Hill will be irreparably harmed if she is denied this information. Accordingly,
                                                                                                                11
                                                                        I1938189-2 MER-5137               AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                 HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
                                                                  Case 8:22-cv-00868-JVS-ADS Document 180 Filed 09/06/23 Page 12 of 12 Page ID
                                                                                                   #:5505



                                                                    1 Hill has established that absent an order granting the relief sought by this ex parte
                                                                    2 application, Hill will be denied her sole means of obtaining critical and highly
                                                                    3 relevant information concerning Bauer and Doe.
                                                                    4 ///
                                                                    5 ///
                                                                    6 ///
                                                                    7 III.        CONCLUSION
                                                                    8             Hill has acted diligently to retain local counsel in an attempt to compel Doe's
                                                                    9 attendance at a deposition. Despite Hill's best efforts, Hill has been unable to compel
                                                                   10 Doe's attendance. By issuing an order allowing (1) Hill to file the Motion for Contempt
                                                                   11 in unredacted form in the Southern District of Ohio and (2) allowing a brief
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                   12 continuance of the discovery cutoff to allow Hill to take the deposition of Doe, the
                                        29 ORCHARD ROAD




                                                                   13 Court will ensure that Hill is able to comply with the Amended Stipulated Protective
                                          (949) 975-1000
                        LAWYERS




                                                                   14 Order, and obtain critical testimony and documents from Doe. Hill therefore
                                                                   15 respectfully requests that this Ex Parte Application For an Order Allowing Hill to File
                                                                   16 the Motion for Contempt in Unredacted Form and for a Continuance of the Discovery
                                                                   17 Cutoff be granted.
                                                                   18 DATED: September 6, 2023                 WESIERSKI & ZUREK LLP
                                                                   19
                                                                   20
                                                                   21                                          By:
                                                                                                                     CHRISTOPHER P. WESIERSKI
                                                                   22
                                                                                                                     MICHELLE R. PRESCOTT
                                                                   23                                                Attorney for Defendant, Lindsey C. Hill
                                                                   24
                                                                   25
                                                                   26
                                                                   27
                                                                   28
                                                                                                                     12
                                                                        I1938189-2 MER-5137               AMENDED EX PARTE APPLICATION FOR AN ORDER ALLOWING
                                                                                                                 HILL TO FILE UNREDACTED MOTION FOR CONTEMPT
